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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

Darrell Lee Bailey,                          )
                                             )        C.A. No. 3:08-2290-HMH-JRM
                      Petitioner,            )
                                             )
       vs.                                   )          OPINION AND ORDER
                                             )
Sheriff Lee Foster,                          )
                                             )
                      Respondent.            )


       This matter is before the court for review of the Report and Recommendation of United

States Magistrate Judge Joseph R. McCrorey, made in accordance with 28 U.S.C. § 636(b)(1)

and Local Civil Rule 73.02 for the District of South Carolina.

       The Magistrate Judge makes only a recommendation to this court. The recommenda-

tion has no presumptive weight. The responsibility to make a final determination remains with

this court. See Mathews v. Weber, 423 U.S. 261, 270-71 (1976). The court is charged with

making a de novo determination of those portions of the Report and Recommendation to

which specific objection is made, and the court may accept, reject, or modify, in whole or in

part, the recommendation of the Magistrate Judge or recommit the matter with instructions.

See 28 U.S.C. § 636(b)(1) (2006).

       The Petitioner filed no objections to the Report and Recommendation. In the absence

of objections to the Report and Recommendation of the Magistrate Judge, this court is not

required to give any explanation for adopting the recommendation. See Camby v. Davis, 718

F.2d 198, 199 (4th Cir. 1983).



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        After a thorough review of the Report and Recommendation and the record in this case,

the court adopts Magistrate Judge McCrorey’s Report and Recommendation and incorporates

it herein. It is therefore

        ORDERED that the above-captioned case is dismissed without prejudice and without

requiring the respondent to file a return.

        IT IS SO ORDERED.

                                               s/Henry M. Herlong, Jr.
                                               United States District Judge

Greenville, South Carolina
July 31, 2008




                              NOTICE OF RIGHT TO APPEAL

        The Petitioner is hereby notified that he has the right to appeal this order within thirty

(30) days from the date hereof, pursuant to Rules 3 and 4 of the Federal Rules of Appellate

Procedure.




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